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 6 Attorneys for Plaintiff
   United States of America
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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-00249-MCE

12                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           FINDINGS AND ORDER

14   JORGE MANUEL VARGAS-GARCIA,
                                                          COURT: Hon. Morrison C. England, Jr.
15                                  Defendant.

16

17                                                 STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on April 15, 2014.

21          2.       By this stipulation, defendant now moves to continue the status conference until July 10,

22 2014, and to exclude time between April 15, 2014, and July 10, 2014, under Local Code T4.

23          3.       The parties agree and stipulate, and request that the Court find the following:

24                   a)     The government has represented that the discovery associated with this case

25          includes agent reports and descriptions of the evidence against defendant. All of this discovery

26          has been either produced directly to counsel and/or made available for inspection and copying.

27                   b)     Counsel for defendant desires additional time to consult with his client, review the

28          discovery, and assess the possibility of a plea agreement. Specifically, counsel requires time to

      STIPULATION RE: EXCLUDABLE TIME; FINDINGS AND        1
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 1          investigate whether the facts contained in the government’s proposed plea agreement correspond

 2          to the proposed sentencing guidelines, and whether any defenses or other mitigating

 3          circumstances exist.

 4                   c)     Counsel for defendant believes that failure to grant the above-requested

 5          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 6          into account the exercise of due diligence.

 7                   d)     The government does not object to the continuance.

 8                   e)     Based on the above-stated findings, the ends of justice served by continuing the

 9          case as requested outweigh the interest of the public and the defendant in a trial within the

10          original date prescribed by the Speedy Trial Act.

11                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12          et seq., within which trial must commence, the time period of April 15, 2014 to July 10, 2014,

13          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

14          because it results from a continuance granted by the Court at defendants’ request on the basis of

15          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

16          of the public and the defendant in a speedy trial.

17          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.

21 Dated: June 12, 2014                                        BENJAMIN B. WAGNER
                                                               United States Attorney
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23                                                             /s/ PAUL A. HEMESATH
                                                               PAUL A. HEMESATH
24                                                             Assistant United States Attorney

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 1 Dated: June 12, 2014                                  /s/ RONALD JAMES PETERS
                                                         RONALD JAMES PETERS
 2                                                       Counsel for Defendant
                                                         JORGE MANUEL VARGAS-GARCIA
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     STIPULATION RE: EXCLUDABLE TIME; FINDINGS AND   3
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 1                                          FINDINGS AND ORDER

 2          The above stipulation is GRANTED. Accordingly, the June 19, 2014 Status Hearing is vacated
 3
     and reset on July 10, 2014 at 9:00 a.m. in courtroom 7. IT IS SO ORDERED.
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 5 DATED: June 13, 2014

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                                                  _____________________________________________
 8                                                MORRISON  N C. ENGLLAND, JR, C
                                                                               CHIEF JUDG  GE
                                                  UNITED ST TATES DISSTRICT COU  URT
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      STIPULATION RE: EXCLUDABLE TIME; FINDINGS AND     4
      ORDER
